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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 MATTHEW PITTARD and
 MATTHEW ALLENDE,                                    CASE NO.: 8:19-cv-01784-TPB-AAS

        Plaintiffs,

 v.

 H.E. SHEIKH KHALID BIN HAMAD
 BIN HKALIFA AL THANI, et al.

       Defendants.
 __________________________________

                        DEFENDANT’S NOTICE OF APPEARANCE
                       AND DESIGNATION OF E-MAIL ADDRESSES

       ARMANDO ROSQUETE, ESQ. and JAVIER A. REYES, ESQ., of BELL ROSQUETE

REYES ESTEBAN, PLLC, hereby enter their appearance as counsel for the Defendant, AL

ANABI RACING, LLC, and respectfully request that all notices, correspondence, and pleadings,

and any and all other pertinent dates pertaining to the above styled cause of action be forwarded

to the undersigned pursuant to Rule 1.05 (c ), Fed.R.Civ.P., and hereby designates the following

e-mail addresses for purposes of receiving all filing in this action:

       Primary:        arosquete@brresq.com
                       jreyes@brresq.com
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                                             Respectfully submitted,

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                                             By: /s/ Armando Rosquete____
                                             Armando Rosquete, Esq.
                                             Florida Bar No. 648434
                                             Javier A. Reyes, Esq.
                                             Florida Bar No. 688487
                                             Attorneys/Trial Counsel for
                                             Al Anabi Racing, LLC


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 2, 2020, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF on all counsel or parties of record on the

Service List.



                                   By: /s/Armando Rosquete
                                       Armando Rosquete, Esq.




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